         Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 1 of 8



PAUL, FLANDREAU& BERGER, LLP
BY: TIMOTHY A. BERGER, ESQUIRE
I.D. NO.: 72954
320 West Front Street
Media, PA 19063                                              Attorney for: Plaintiff
(610) 565-4750
tberger@pfblaw.com

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BENEDICT MCGILL                               :
                                              :      CIVIL ACTION
       Plaintiff,                             :
                                              :      NO. 2:18-cv-02635-GEKP
       v.                                     :
                                              :
DAVON L. CARROLL et al.,                      :
                                              :
       Defendants                             :

                       MOTION TO WITHDRAW AS COUNSEL FOR
                           PLAINTIFF BENEDICT MCGILL

       AND NOW, comes Timothy A. Berger, Esquire (“Counsel”) and files the within Motion

to Withdraw as Counsel for Plaintiff, Benedict McGill, (“Plaintiff”) pursuant to Rule 5.1(c) of

the Local Rules of Civil Procedure for the United States District Court for the Eastern District of

Pennsylvania, and Pennsylvania Rule of Professional Conduct 1.16. In support thereof, Counsel

states as follows:

   1. On June 21, 2018, this case was removed to the United States District Court for the

Eastern District of Pennsylvania by Defendants.

   2. A Scheduling Order was issued by the Court on October 2, 2018, setting a Discovery

deadline of February 1, 2019.

   3. Defendants subsequently served written discovery on Plaintiff.

   4. The written discovery was forwarded to Plaintiff with a request that he provide the
         Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 2 of 8



information requested by the discovery requests.

   5. When Plaintiff returned his responses to the discovery, he failed to provide any

information in response to numerous interrogatories.

   6. Counsel subsequently spoke to Plaintiff and advised that Defendants were entitled to

answers to all of the interrogatories and asked that he provide the missing information; Plaintiff

was also provided with an updated draft of his Answers to Interrogatories that specifically

highlighted the information that was needed by Counsel.

   7. Between October 19, 2018 and the present, Counsel placed multiple unreturned telephone

calls and sent numerous e-mails to Plaintiff to which no response was received concerning the

missing discovery information; prior to the service of discovery, Plaintiff had promptly

responded to email and to phone calls.

   8. As a result, Plaintiff’s November 27, 2018 deposition was postponed.

   9. On January 4, 2019, after counsel for the parties conferred and proposed an amended

schedule, the Court entered the Amended Scheduling Order extending the Discovery deadline to

March 4, 2019.

   10. By letters dated January 23, 2019 and February 6, 2019 that were sent by email, first

class mail, and certified mail return receipt requested, Counsel advised that unless Plaintiff

provided all of the necessary information required to complete the discovery responses, along

with documents requested by Defendants, he could not provide effective representation and

might have to withdraw.

   11. None of the letters have been returned as undeliverable.

   12. The most recent attempt to reach Plaintiff by phone yielded a recorded message that

indicated the number was disconnected.
           Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 3 of 8



   13. Plaintiff still has not provided the information and document required by Counsel and has

been unable to provide dates for his deposition.

   14. Due to Plaintiff’s failure to timely respond to Counsel’s requests for cooperation,

Counsel cannot competently and adequately represent Plaintiff.

   15. Counsel has written to Plaintiff to inform him of the Motion to Withdraw and suggestion

to obtain alternative counsel.

   16. A copy of this Motion is being served on Plaintiff at his last known address.

       WHEREFORE, Timothy A. Berger, Esquire respectfully request that this Court Grant his

Motion to Withdraw as Counsel and grant leave to withdraw his appearance for Plaintiff,

Benedict McGill in this action, and further give Plaintiff forty-five (45) days to obtain new

counsel.

                                              Respectfully submitted,


                                              BY: /s/ Timothy A. Berger, Esquire
Dated: 2/15/2019                                 Timothy A. Berger, Esquire
                                                  I.D. # 72954
                                                  PAUL, FLANDREAU, & BERGER, LLP
                                                  320 West Front Street
                                                  Media, PA 19063
                                                  (610)565-4750
                                                  Fax. No.: (610)565-5294
                                                  Attorney for Plaintiff
          Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 4 of 8



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BENEDICT MCGILL                                :
                                               :       CIVIL ACTION
         Plaintiff,                            :
                                               :       NO. 2:18-cv-02635-GEKP
         v.                                    :
                                               :
DAVON L. CARROLL et al.,                       :
                                               :
         Defendants                            :

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S COUNSEL’S MOTION TO
     WITHDRAW AS COUNSEL FOR PLAINTIFF BENEDICT MCGILL

         Petitioner, Timothy A. Berger, Esquire (“Counsel”) hereby submits the following

Memorandum of Law in support of their Motion to Withdraw as Counsel of Plaintiff, Benedict

McGill.

   I.         INTRODUCTION

         Counsel incorporates by reference as if set forth herein the facts set forth in the Motion to

Withdraw.

   II.        ARGUMENT

         An attorney’s appearance may not be withdrawn except by leave of court, unless another

attorney of this court shall at the same time enter an appearance for the same party. Rule 5(1)(c)

of the Local Rules of Civil Procedure for the Eastern District of Pennsylvania. Whether an

attorney is permitted to withdraw must be determined with reference to the underlying purpose

of Local Rule 5.1, which includes “ensuring effective court administration.” See Ohntrup v.

Firearms Ctr., Inc., 802 F.2d 676, 679 (3d Cir. 1986). When ruling on an attorney’s motion to

withdraw, the Court should consider: (i) the reasons withdrawal is sought; (ii) the prejudice

withdrawal may cause to the litigants; (iii) the harm withdrawal might cause to the
         Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 5 of 8



administration of justice; and (iv) the degree to which withdrawal will delay resolution of the

case.

        Counsel received no response from Plaintiff for an extended period of time in connection

while trying to respond to Defendants’ discovery requests. Rule 1.16(b) of the Pennsylvania

Rules of Professional Conduct permits counsel to withdraw where:

        (5) the client fails to substantially fulfill an obligation to the lawyer regarding the
        lawyer's services and has been given reasonable warning that the lawyer will
        withdraw unless the obligation is fulfilled; (6) the representation will result in an
        unreasonable financial burden on the lawyer or has been rendered unreasonably
        difficult by the client; or (7) other good cause for withdrawal exists.

Since October 19, 2019, Counsel has been attempting to contact Plaintiff in order to obtain

information needed to fully respond to discovery and to schedule Plaintiff’s deposition.

However, Plaintiff still has not provided the necessary information even though he was cautioned

that Counsel would be forced to withdraw. This lack of cooperation makes Counsel’s

representation ineffective and also impacts his ability to comply with his obligations to the

Court. Thus, there has been an irreconcilable breakdown in the attorney-client relationship.

Counsel cannot proceed further under the circumstances and effectively provide legal

representation.

        Accordingly, for the foregoing reasons, Timothy A. Berger, Esquire respectfully requests

that the Court grant his Motion to Withdraw as Counsel of Plaintiff, Benedict McGill. So as to
           Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 6 of 8



avoid prejudicing Plaintiff, Counsel asks that Plaintiff be given 45 days to obtain replacement

counsel.

                                             Respectfully submitted,

                                             BY: /s/ Timothy A. Berger, Esquire
Dated: 2/15/2019                                Timothy A. Berger, Esquire
                                                 I.D. # 72954
                                                 PAUL, FLANDREAU, & BERGER, LLP
                                                 320 West Front Street
                                                 Media, PA 19063
                                                 (610)565-4750
                                                 Fax. No.: (610)565-5294
                                                 Attorney for Plaintiff
         Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 7 of 8



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BENEDICT MCGILL                              :
                                             :       CIVIL ACTION
       Plaintiff,                            :
                                             :       NO. 2:18-cv-02635-GEKP
       v.                                    :
                                             :
DAVON L. CARROLL et al.,                     :
                                             :
       Defendants                            :

                                             ORDER


       AND NOW THIS _____ DAY OF ________, 2019 upon consideration Timothy A.

Berger, Esquire’s Motion to Withdraw Appearance as Counsel for Plaintiff, Benedict McGill and

the supporting memorandum of law, it is hereby ORDERED and DECREED that said Motion is

GRANTED and that Timothy A. Berger, Esquire is permitted to withdraw their appearance on

behalf of Plaintiff in the above-captioned matter. Attorney Berger shall file a Notice of

Withdrawal of Representation within _____ days of the date of this Order. Plaintiff shall have

____ days within to which notify the Court of the retention of substitute legal counsel who shall

file their appearance of record.


                                                     BY THE COURT:

                                                     _________________________
                                                                             J.
        Case 2:18-cv-02635-GEKP Document 12 Filed 02/15/19 Page 8 of 8



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BENEDICT MCGILL                              :
                                             :      CIVIL ACTION
       Plaintiff,                            :
                                             :      NO. 2:18-cv-02635-GEKP
       v.                                    :
                                             :
DAVON L. CARROLL et al.,                     :
                                             :
       Defendants                            :

                                CERTIFICATE OF SERVICE

       I, Timothy A. Berger, Esquire, hereby certifies that a true and correct copy of the

foregoing Motion to Withdraw as Counsel of Plaintiff, Benedict McGill was served on all

parties, via electronic service of the Court and is available for viewing and downloading from the

ECF system and/or by first-class mail, postage prepaid postage.



                                             BY: /s/ Timothy A. Berger, Esquire
Dated: 2/15/2019                                Timothy A. Berger, Esquire
                                                 I.D. # 72954
                                                 PAUL, FLANDREAU, & BERGER, LLP
                                                 320 West Front Street
                                                 Media, PA 19063
                                                 (610)565-4750
                                                 Fax. No.: (610)565-5294
                                                 Attorney for Plaintiff
